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                                         UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                         No. 07-4059


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross,

                          Defendant - Appellant.



                                         No. 07-4060


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.

        PAULETTE MARTIN, a/k/a Paulette Murphy,                 a/k/a      Paulette
        Akuffo, a/k/a Paula Murphy, a/k/a Auntie,

                          Defendant - Appellant.



                                         No. 07-4062


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.
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        LANORA N. ALI, a/k/a La Nora Ali-Gardner,

                          Defendant - Appellant.



                                         No. 07-4063


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.

        REECE COLEMAN WHITING, JR., a/k/a Guy Counts, a/k/a Cups,
        a/k/a Dino Whiting,

                          Defendant - Appellant.



                                         No. 07-4080


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.

        DERREK LEWIS BYNUM, a/k/a Bo,

                          Defendant - Appellant.



                                         No. 07-4115


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.



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        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
        Dobie Parker,

                          Defendant - Appellant.



        Appeals from the United States District Court for the District
        of Maryland, at Greenbelt.     Roger W. Titus, District Judge.
        (8:04-cr-00235-RWT-3; 8:04-cr-00235-RWT-1; 8:04-cr-00235-RWT-10;
        8:04-cr-00235-RWT-6; 8:04-cr-00235-RWT-7; 8:04-cr-00235-RWT-9)


        Argued:    September 20, 2011                      Decided:    November 2, 2011


        Before MOTZ, GREGORY, and DUNCAN, Circuit Judges.


        Affirmed   in  part,   vacated   in  part,   and  remanded with
        instructions by unpublished opinion.     Judge Duncan wrote the
        opinion, in which Judge Motz and Judge Gregory joined.


        ARGUED: Marc Gregory Hall, HALL & CHO, PC, Rockville, Maryland;
        Alan Dexter Bowman, Newark, New Jersey; G. Alan DuBois, OFFICE
        OF THE FEDERAL PUBLIC DEFENDER, Raleigh, North Carolina, for
        Appellants. Anthony William Vitarelli, UNITED STATES DEPARTMENT
        OF JUSTICE, Washington, D.C., for Appellee.     ON BRIEF: Michael
        D. Montemarano, MICHAEL D. MONTEMARANO, PA, Elkridge, Maryland,
        for Appellant Martin; Anthony D. Martin, ANTHONY D. MARTIN, PC,
        Greenbelt, Maryland, for Appellant Goodwin; Timothy S. Mitchell,
        LAW OFFICE OF TIMOTHY S. MITCHELL, Greenbelt, Maryland, for
        Appellant Bynum.    Rod J. Rosenstein, United States Attorney,
        Deborah A. Johnston, Bonnie S. Greenberg, Stefan D. Cassella,
        Assistant United States Attorneys, OFFICE OF THE UNITED STATES
        ATTORNEY, Baltimore, Maryland; Lanny A. Breuer, Assistant
        Attorney General, Greg D. Andres, Acting Deputy Assistant
        Attorney   General,   Daniel   Steven  Goodman,    UNITED  STATES
        DEPARTMENT OF JUSTICE, Washington, D.C., for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        DUNCAN, Circuit Judge:

              Learley       Goodwin,     Paulette         Martin,    Lanora         Ali,     Reece

        Whiting,     Jr.,     Derrek    Bynum,       and    Lavon    Dobie      (collectively

        “Appellants”) were tried together and convicted of conspiracy

        and other offenses in relation to the distribution of narcotics.

        On appeal, Appellants raise numerous claims, both collectively

        and individually, challenging their convictions and sentences. 1

        For   the   reasons    that     follow,     we     affirm   the   judgment         of   the

        district court except as to Dobie’s sentence, which we vacate.

        We remand the case to the district court for resentencing.



                                                    I.

              This case, involving a large number of individuals over an

        extended     period     of     time,    has      produced    a    complex          factual

        background.       While Appellants bring multiple claims on appeal,

        oral argument focused on the claims of three appellants: Ali,

        Whiting,    and     Dobie.       One   of       these   claims    is    a    collective

        challenge, whereas the rest are individual to Ali, Whiting, and

        Dobie, respectively.           We have considered Appellants’ remaining


              1
               Goodwin, Martin, Bynum, and Dobie also challenge the
        forfeiture of their assets pursuant to 21 U.S.C. § 853.    The
        same appellants, sans Dobie, bring identical challenges to the
        forfeiture in a subsequently filed appeal.    We address these
        challenges to the criminal forfeiture in a separately filed
        opinion in Case No. 10-5301.


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        claims on appeal and conclude they lack merit.                              Therefore, for

        ease      of    reference,    we    set      forth    the    facts       relative      to    Ali,

        Whiting, and Dobie, who make the arguments warranting the most

        extensive,        individualized            discussion.       We     provide      additional

        information as necessary.

                                                       A.

               This case involves a large drug trafficking organization

        that      supplied       drugs     throughout         the    District        of     Columbia,

        Maryland, and Virginia.                Paulette Martin was the key player in

        this      organization.            Martin      acted    as     a    major     drug      supply

        intermediary,           connecting      wholesale      drug     suppliers         to   street-

        level          retail    dealers.             From     March        until     June          2004,

        investigators, acting with court authorization, tapped Martin’s

        phone      lines.          Based       on     information       gathered       from         those

        intercepts and ensuing investigations, authorities arrested over

        thirty         individuals       and    executed       more        than     twenty      search

        warrants.

               Ali, Whiting, and Dobie were connected to the organization

        in different ways.           Ali was a close friend and drug customer of

        Martin’s.         Over the period of the investigation, Ali contacted

        Martin by phone an average of three times per day.                                Authorities

        intercepted numerous phone calls during which Ali sought drugs

        from      Martin.        Authorities         also    recorded      Ali    discussing         with

        Martin the arrests of other members of the conspiracy.                                  During

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        the investigation, intercepted calls indicated that Martin was

        becoming concerned that authorities would raid her residence and

        that she had decided to relocate her drug business from her

        residence         to   a    performing        arts       school     that       she     owned.

        Subsequently, surveillance cameras captured Ali helping Martin

        move bags from Martin’s residence to the performing arts school.

        Ali   also    stored       in   her    home    a    locked     suitcase       belonging    to

        Martin.       Upon     raiding        Ali’s    residence,        inside       the    suitcase

        authorities discovered $129,600 in currency and several papers

        bearing Martin’s name.

              Whiting was another drug customer of Martin’s.                           In addition

        to buying drugs from Martin, Whiting also purchased drugs for

        resale from another member of the conspiracy, Emilio Echarte,

        one of Martin’s drug suppliers.                    To repay a debt owed to Echarte

        relating to the resale of drugs, Whiting drove Echarte to pick

        up drugs from a bus arriving in Virginia.

              Dobie       purchased      heroin    and      cocaine     from    Martin       for   the

        purpose      of    resale.        Authorities        recorded      Dobie      on     multiple

        occasions         discussing       with       Martin      the     resale        of     drugs.

        Authorities        also    recorded       Dobie      discussing        with    Martin      the

        arrest of another member of the conspiracy.                         Authorities raided

        Dobie’s residence on June 1, 2004, and found 11.65 grams of

        heroin, drug paraphernalia, and two handguns.



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                                                         B.

              Count     One    of      the     indictment        on     which   they     were        tried

        charged Ali, Whiting, and Dobie with violating 21 U.S.C. § 846

        by conspiring among themselves and with others to distribute and

        possess     with   intent       to     distribute        five    kilograms       or    more     of

        cocaine, one kilogram or more of heroin, and fifty grams or more

        of cocaine base, in violation of 21 U.S.C. § 841.                               Count Sixty-

        One of the indictment charged Dobie with possession of a firearm

        in furtherance of a drug trafficking conspiracy, in violation of

        18 U.S.C. § 924(c).              The indictment also charged Ali, Whiting,

        and Dobie with multiple counts of using a communication facility

        in the commission of a felony.

              On     August       31,      2006,         after    42     days      of        trial     and

        deliberations,        a     jury     convicted         Ali,     Whiting,       and    Dobie    on

        multiple     counts       related       to       the   drug    conspiracy.            The    jury

        convicted     each     on      Count    One       of   the    indictment,        as    well     on

        multiple      counts      of     using       a     communication        facility        in     the

        commission of a felony.                The jury also convicted Dobie on Count

        Sixty-One.

              The district court sentenced Ali to a total of 120 months’

        imprisonment, Whiting to life imprisonment, and Dobie to 206

        months’ imprisonment.              This appeal followed.




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                                                 II.

              Ali,    Whiting,        and    Dobie        collectively        challenge           the

        admission     of      expert       testimony       from     government           witnesses

        regarding      drug       trafficking       methods.            Individually,             Ali

        challenges     her     §     841    conviction        on     Count        One.       Dobie

        individually challenges her § 924(c) conviction on Count Sixty-

        One as well as her sentence on Count One.                        Also individually,

        Whiting challenges the adequacy of the notice provided to him

        regarding the government’s intention to seek enhancement of his

        sentence pursuant to 21 U.S.C. § 841, based on previous drug

        offense convictions.         We address each of these claims in turn.

                                                  A.

              We first consider the collective argument that the district

        court erred by allowing two government witnesses to testify both

        as fact and expert witnesses without properly bifurcating their

        testimony.      We review a district court’s decisions regarding

        expert    testimony    for     abuse   of       discretion.       United         States    v.

        Baptiste, 596 F.3d 214, 222 (4th Cir. 2010).

              Detectives Christopher Sakala and Thomas Eveler were two of

        three case agents who led the investigation that culminated in

        the arrests of Appellants.             Beyond the investigation related to

        this case, at the time of trial, Sakala and Eveler had years of

        experience investigating drug trafficking conspiracies, which,

        combined, included engaging in thousands of drug transactions,

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        dealing with numerous informants, and participating in dozens of

        wiretap investigations.

              On June 13, 2006, Sakala testified for the government as a

        fact witness.       Sakala described, inter alia, the progression of

        the   investigation,      the    use    of       wiretaps,    and   the    intercepted

        phone conversations.         Sakala returned to the stand a week later,

        on June 20, 2006, and gave extensive expert testimony.                              Upon

        returning to testify, the government walked Sakala through his

        narcotics background and training to lay the foundation for his

        expert testimony.         The purpose of Sakala’s expert testimony was

        to aid the jury in interpreting the intercepted calls presented

        to it.     Sakala gave his expert opinion, for example, as to the

        true meaning of code words used by members of the conspiracy in

        their recorded phone conversations.

              While not entirely clear from the record, it appears that

        Eveler first testified as a fact witness on July 19, 2006, and

        then returned to the stand to testify as an expert witness on

        July 25, 2006.       Eveler’s testimony was very similar to that of

        Sakala’s.

              Appellants     argue       that   the        district    court      abused    its

        discretion     in   allowing      the   dual-role        testimony        because    the

        “factual    testimony      was    not   bifurcated       or    delineated      in    any

        fashion from [the] expert/opinion testimony, and was not in any



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        way differentiated as to its sourcing or basis.”                                  Appellants’

        Br. 68.

               In Baptiste, this court outlined four safeguards concerning

        bifurcation          and        delineation     that     a     district       court      should

        consider in exercising its discretion to allow dual-role fact

        and opinion testimony.                  596 F.3d at 224.                 First, a district

        court may give a cautionary instruction to the jury reminding

        the jury that it is up to it to determine the weight given to

        testimony.           Id.     Second, defense counsel may cross-examine the

        agent about his expert opinion, enabling the defense to clarify

        the role of the witness at that point in the trial.                               Id.    Third,

        the government is required to establish a proper foundation for

        the    witness’s           expertise.        Id.       Fourth,       the    government        may

        distinguish          expert       opinion     testimony       from    fact      testimony      by

        prefacing a witness’s expert testimony with a request that he

        base his answers on his expertise.                      Id.     We also noted that, in

        addition        to   these       safeguards,       a   district       court     could     reduce

        juror confusion “by requiring the witness to take separate trips

        to the stand in each capacity.”                    Id. at 225 n.9.

               It is clear from the record and not disputed by appellants

        that      (1)   the    district        court    instructed         the     jury   as     to   its

        discretion       in    weighing        testimony,       (2)    defense       counsel      cross-

        examined        Sakala          and   Eveler    in      both       capacities,         (3)    the

        government       laid       a    proper     foundation       for     Sakala     and     Eveler’s

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        expert       testimony,           and        (4)     the     government          prefaced       its

        questioning of Sakala and Eveler in their expert capacities by

        asking      them     to    base     their        answers    on    their        expertise.       The

        district court and the government thus utilized each safeguard

        enumerated in Baptiste.                 The government also took the additional

        step of having Sakala and Eveler take separate trips to the

        stand--in each instance approximately a week apart--to clearly

        separate their fact testimony from their opinion.                                     Accordingly,

        we find no abuse of discretion in the admission of Sakala and

        Eveler’s testimony.

                                                            B.

               We     now     turn     to       the        consideration         of     the    individual

        arguments      on    appeal.            We    begin      with    Ali’s        challenge    to   her

        conviction on Count One, for conspiracy to distribute narcotics.

        Ali advances two arguments in support of this challenge.                                    First,

        Ali argues that there was insufficient evidence to support the

        conviction.          When reviewing a challenge to the sufficiency of

        the       evidence        underlying         a     conviction,       we       are     limited    to

        determining         whether,       viewing         the   evidence        and    the     reasonable

        inferences to be drawn therefrom in the light most favorable to

        the government, the evidence adduced at trial could support any

        rational      determination             of    guilty       beyond    a    reasonable        doubt.

        United States v. Young, 609 F.3d 348, 354-55 (4th Cir. 2010).

        In the alternative, Ali argues--for the first time on appeal--

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        that there was a fatal variance between the conduct charged in

        Count One, the evidence introduced at trial as to Count One, and

        the district court’s jury instruction on Count One.                                Because Ali

        did not raise this argument in the district court, it is subject

        to plain error review.                   See United States v. Jeffers, 570 F.3d

        557,      567    (4th        Cir.    2009).        To     show    plain   error,     Ali    must

        “identify an error that is plain and that substantially affects

        [her] rights.”              Id.     We consider each argument in turn.

                                                           1.

               Ali first argues that the evidence presented to the jury

        showed only that she and Martin had a buyer/seller relationship.

        She contends the evidence was insufficient to connect her to the

        conspiracy and thus was insufficient to support her conviction

        on Count One.

               In    United          States    v.     Strickland,        245   F.3d   368 (4th      Cir.

        2001), this court laid out what the government must prove to

        connect         an        individual     to    a    drug      conspiracy.          First,    the

        government must prove the existence of the drug conspiracy.                                  Id.

        at 385.         “Once a conspiracy has been proved, the evidence need

        only establish a slight connection between any given defendant

        and the conspiracy to support conviction.”                             Id.    The government

        can establish such a connection by showing that a defendant had

        knowledge            of     the   conspiracy        and       knowingly      and   voluntarily

        participated in the conspiracy.                         Id.    This connection need only

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        be “slight” because “a defendant need not have knowledge of all

        of . . . the details of the conspiracy, and . . . may be

        convicted despite having played only a minor role.”                              Id.

               Ali does not contend that the government failed to prove

        the existence of the drug conspiracy described in Count One.                                  We

        therefore focus on Ali’s connection to that conspiracy.                                       The

        evidence,        when    viewed     in    the        light   most         favorable    to     the

        government, showed that Ali had frequent contact with Martin, on

        the order of several times daily, and discussed with Martin the

        arrests of other coconspirators.                       It was reasonable to infer

        from this evidence that Ali had knowledge of the conspiracy.

               The evidence also showed that Ali held drug proceeds for

        Martin and aided in the relocation of Martin’s drug business

        when      Martin      feared    detection.            From     this       evidence,    it     was

        reasonable to infer that Ali knowingly and voluntarily played at

        least a minor role in the drug conspiracy.                           See United States v.

        Collazo,        732    F.2d    1200,     1205    (4th    Cir.        1984)      (holding    that

        knowing     and       voluntary    participation          in     a    conspiracy       “can    be

        shown      by    circumstantial          evidence        such        as    [a    defendant’s]

        relationship with other members of the conspiracy, the length of

        this association, [the defendant’s] attitude, conduct, and the

        nature of the conspiracy”).                 Accordingly, we conclude that the

        evidence presented at trial was sufficient to support the jury’s



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        conclusion        that   Ali     was    involved      in    the    drug     distribution

        conspiracy as more than a mere purchaser of drugs.

                                                    2.

               Ali alternatively argues that, although she was charged in

        Count One for participating in a single, large conspiracy, the

        evidence      established       two    separate      conspiracies: one        uncharged

        conspiracy between only Ali and Martin, and a larger conspiracy

        charged in Count One between Martin and the other co-defendants.

        Ali   contends      that this         created    a   fatal variance         between   the

        indictment and the proof at trial and that the district court

        compounded this variance by failing to instruct the jury that it

        must acquit her if it found two distinct conspiracies.

               A fatal variance occurs “[w]hen the government, through its

        presentation of evidence and/or its argument, or the district

        court, through its instructions to the jury, or both, broadens

        the       bases    for     conviction       beyond         those   charged      in    the

        indictment.”        United States v. Randall, 171 F.3d 195, 203 (4th

        Cir. 1999).        To determine if a variance occurred between Count

        One and the evidence as it relates to Ali, we must compare that

        evidence to what is necessary to prove a single conspiracy.

               In United States v. Johnson, 54 F.3d 1150 (4th Cir. 1995),

        this court explained that “[a] single conspiracy exists when the

        conspiracy had the same objective, it had the same goal, the

        same nature, the same geographic spread, the same results, and

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        the same product.”              Id. at 1154 (internal quotations omitted);

        see also Jeffers, 570 F.3d at 568 (“[A] drug conspiracy may

        ‘result[] in only a loosely-knit association of members linked

        only       by    their      mutual    interest        in     sustaining        the    overall

        enterprise of catering to the ultimate demands of a particular

        drug consumption market.’” (quoting United States v. Banks, 10

        F.3d 1044, 1054 (4th Cir. 1993)).

               The      record     is   sufficient       to   show       that    Ali   knew   of   the

        existence of the larger conspiracy and knowingly participated in

        it.       As noted above, Ali’s discussion with Martin of the arrests

        of other members of the conspiracy demonstrated her knowledge of

        the larger conspiracy in which Martin was involved.                                   As also

        noted above, Ali assisted Martin by helping Martin relocate her

        drug business and by safeguarding Martin’s drug proceeds.

               In       sum,    the     evidence    showed         Ali    knew    of    the    larger

        conspiracy in which Martin was involved and helped Martin in her

        attempt         to     avoid     detection--and            thus    aided       that    larger

        conspiracy--by             relocating      the      drug     business.           Given     the

        inferences to be drawn in favor of the government, this evidence

        was sufficient to demonstrate that Ali was knowingly pursuing

        the same objective as all other members of the drug trafficking

        conspiracy charged in Count One: aiding drug distribution in the

        Washington,          DC,    area.      Thus,     there      was    no    variance     between



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        either    the    proof    at     trial      or     the   jury    instruction        and   the

        conduct charged in Count One.

                                                      C.

               We next consider Dobie’s challenge to the sufficiency of

        the evidence supporting her conviction on Count Sixty-One for

        possession of a firearm in furtherance of a drug trafficking

        crime, in violation of 18 U.S.C. § 924(c).                       As we have set out,

        on a sufficiency challenge, our review is limited to determining

        whether the evidence, viewed in the light most favorable to the

        government and with all reasonable inferences drawn in favor of

        the    government,       supports       a   rational      determination        of    guilty

        beyond a reasonable doubt.

               Dobie begins by correctly noting that Count Sixty-One lists

        the conspiracy charged in Count One as the predicate offense for

        the    violation    of    §     924(c).          Dobie    does    not    challenge        her

        conviction on Count One and does not dispute that her possession

        of the firearms was contemporaneous with the drug conspiracy

        charged     in    Count    One.          Dobie      insists,      however,     that       the

        government       failed    to     put       forward      proof    to    show   that       her

        possession of the firearms was in furtherance of the conspiracy

        charged in Count One.              Because authorities found the firearms

        near drugs, viz. 11.65 grams of heroin, Dobie assumes that to

        show that her possession of the firearms was in furtherance of

        the conspiracy charged in Count One, the government was required

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        to prove that the drugs found with the firearms were connected

        to that drug conspiracy.           Proceeding from this assumption, Dobie

        claims     that   she    was   involved    in    multiple    drug      conspiracies

        beyond the one charged in Count One and that the government

        failed to provide sufficient evidence to show the heroin found

        with the firearms was a part of the predicate conspiracy charged

        in Count One rather than one of the other conspiracies.                    Without

        this connection, Dobie argues, the government could not show

        that her possession of the firearms was in furtherance of the

        conspiracy charged in Count One.

               The government responds to Dobie’s argument by proceeding

        from the same assumption that the nexus between the firearms and

        the    conspiracy      charged    in   Count    One   must   be   established   by

        connecting the heroin found in proximity to the firearms to the

        drug      conspiracy    charged    in    Count      One.     To   do    this,   the

        government relies on a recording of a phone call between Dobie

        and Martin--the leader of the conspiracy charged in Count One--

        that took place three weeks before the firearms and heroin were

        seized.      In this phone call, Martin sought heroin for another

        person and inquired whether Dobie had any in her possession.

        Dobie responded that while she recently had as much as 50 grams

        of heroin in her possession, she had sold some and at the time

        of the call had only “10 or 15” grams remaining.                        J.A. 1052.

        Dobie and Martin then negotiated over the price.                  The government

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        argues    that      because    the    amount    of     heroin   seized     at   Dobie’s

        residence was 11.65 grams, and three weeks prior to this seizure

        Dobie was discussing selling through Martin “10 or 15” grams of

        heroin, a reasonable finder of fact could rationally conclude

        that the heroin found at Dobie’s residence was the same heroin

        discussed in the phone call.                   The finder of fact could thus

        connect the heroin to the conspiracy charged in Count One.                          With

        this connection made, it is argued, a sufficient nexus exists

        between the firearms found in proximity to the heroin and the

        conspiracy charged in Count One.

              Dobie does not challenge the possible existence of this

        connection but instead argues that to find such a connection

        would require a jury to pile inference upon inference, and thus,

        such a connection is insufficient to support a finding of guilty

        beyond a reasonable doubt.

              Although the government’s argument is tenable, we need not

        reach     it   to     find    the     evidence       underlying      Dobie’s       924(c)

        conviction to be sufficient.               We have held that, in making the

        factual    determination         whether    a    defendant’s      possession        of   a

        firearm was “in furtherance” of the predicate drug trafficking

        crime, under § 924(c), “the fact finder is free to consider the

        numerous ways in which a firearm might further or advance” the

        conspiracy,         including        by   providing       security        during    drug

        transactions and helping defend turf.                    United States v. Lomax,

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        293 F.3d 701, 705 (4th Cir. 2002). 2                   Indeed, in Jeffers, we found

        sufficient evidence to uphold a § 924(c) conviction where no

        firearms      or     drugs     were     seized    from    the   defendant,         let   alone

        together.         570 F.3d at 565-66.            We upheld the conviction because

        the       evidence       showed     that    the       defendant    possessed         various

        firearms at different points during the time he participated in

        the conspiracy and also showed that the defendant was willing to

        use a firearm in self-defense should it become necessary.                                 Id.

        at 565-66.

               Applying          our   precedent,        we   conclude    that       the    evidence

        presented by the government is sufficient to sustain Dobie’s §

        924(c) conviction.               Dobie does not deny that she possessed the

        firearms, or that she was involved in the conspiracy charged in

        Count      One,     or    that    she    possessed        the   firearms      during     that

        conspiracy.          Once these facts were established, the jury was

        “free to consider the numerous ways in which” Dobie’s firearms

        could have furthered this conspiracy.                      It would be rational for

        a   juror      to    conclude,        for   example,       that   the    possession        of

        firearms by some of its members made the conspiracy, as a whole,


               2
                As Lomax relates to Dobie’s and the government’s
        arguments, it stands for the proposition that while evidence
        showing that a firearm possessed by a defendant was found near
        drugs involved in the predicate offense may be sufficient to
        sustain a § 924(c) conviction, 293 F.3d at 705, it is not
        necessary.


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        more      secure.        In    addition,     the       evidence    showed    that    Dobie

        participated        in   the    conspiracy        as    a retail    dealer     of   drugs.

        Given     the   dangers       facing    a   street-level          drug   dealer,    it   is

        rational to believe that her possession of the firearms aided

        her    in    this   enterprise.          Under     the      deferential      standard    of

        review we accord jury findings, there was sufficient evidence

        that Dobie’s possession of the firearms furthered the goals of

        the conspiracy as necessary to support a § 924(c) conviction.

                                                     D.

               We next consider Dobie’s challenge to her sentence for her

        conviction on Count One.               Review of any sentence proceeds in two

        steps.        First,     we    must    determine       whether     the   district    court

        committed any procedural error, such as improperly calculating

        the guidelines range or failing to adequately explain the chosen

        sentence.       United States v. Carter, 564 F.3d 325, 328 (4th Cir.

        2009).      If we conclude that the district court has not committed

        procedural error, “we consider the substantive reasonableness of

        the    sentence     imposed      under      an    abuse-of-discretion         standard.”

        Id. (internal quotations omitted).

               As    relevant     to    this    appeal,        at   her   sentencing    hearing,

        Dobie requested two downward adjustments to her offense level

        for Count One.           Dobie requested a “minimal role” reduction of

        four points or, alternatively, a “minor role” reduction of two



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        points. 3      The relevant portion of the sentencing hearing begins

        with the district court stating, “In this case I conclude that

        [Dobie] is not entitled to a reduction [f]or a mitigating role.” 4

        J.A.       2954.       The    district         court       proceeds      from      this   general

        statement to reject Dobie’s “argument in support of a four level

        reduction” because “it is clear that Ms. Dobie obtained drugs

        from Ms. Martin . . . for resale, and I conclude that she’s not

        entitled to a reduction for a minimal role.”                                    J.A. 2954-55.

        Thus, the district court rejected Dobie’s request for a minimal

        role       adjustment        but     at   no    point       specifically           addressed    or

        rejected      Dobie’s        request      for    a     minor      role    adjustment.          The

        district court went on to calculate an offense level of 28 for

        Count One.         This, combined with a criminal history category of

        V,   yielded       a   guidelines         range       of    130     to   162    months.        The

        district court sentenced Dobie to 146 months’ imprisonment on

        Count One.




               3
               Section 3B1.2 of the United States Sentencing Guidelines
        describes these adjustments.
               4
               The court reporter transcribed the district court as
        saying, “not entitled to a reduction or a mitigating role”
        (emphasis added). Based on the context of the district court’s
        consideration, we believe this to be a scrivener’s error. See,
        e.g., J.A. 2953-54 (quoting the district court as saying Dobie
        “also contends there should be an adjustment for a mitigating
        role” (emphasis added)).


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                Dobie argues that the district court committed procedural

        error     by    failing      to       consider      her   request      for    a    minor    role

        adjustment in calculating her sentencing guidelines range.

                In Carter, this court held that a district court commits

        procedural error requiring remand when it fails to justify an

        aspect     of    a     defendant’s            sentence        “with    an    individualized

        rationale.”           564    F.3d      at     328-29.      Here,      the    district      court

        failed     to    provide      an       individualized         rationale      for     rejecting

        Dobie’s    request      for       a    minor     role     adjustment.         Therefore,         we

        vacate    Dobie’s       sentence         as    to     Count    One    and    remand    to       the

        district court for resentencing for the purpose of considering

        Dobie’s request for a minor role adjustment.

                                                         E.

              We next consider Whiting’s argument that the information

        filed     by    the    government           advising      Whiting     that      it   would      be

        pursuing an enhanced sentence pursuant to 21 U.S.C. § 841 failed

        to provide him adequate notice as required by 21 U.S.C. § 851.

        We   review     de    novo    questions          regarding      the    adequacy       of    a    21

        U.S.C. § 851 notice.                   See United States v. Ladson, 643 F.3d

        1335, 1341 (11th Cir. 2011).

                As it relates to Whiting’s sentence for his conviction on

        Count One, 21 U.S.C § 841 provides that anyone so convicted

        after “two or more prior convictions for a felony drug offense

        have become final, . . . shall be sentenced to a mandatory term

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        of life imprisonment.”              21 U.S.C. § 841(b)(1)(A).               A “felony

        drug offense” is “an offense that is punishable by imprisonment

        for more than one year under any law of the United States or of

        a State or foreign country that prohibits or restricts conduct

        relating to narcotic drugs.”                Id. at § 802(44).              Section 851

        establishes a prerequisite for such enhancement, requiring the

        government, prior to trial, to file an information “stating in

        writing the previous convictions to be relied upon.”                        Id. at       §

        851(a)(1).

              Here, the government filed an information prior to trial

        informing      Whiting      that    it    intended     to    rely    on    five     prior

        convictions to enhance his sentence pursuant to § 841.                         Because

        the relevant part of § 841 requires proof of two convictions, we

        focus     on   only    two    of    the   five    convictions        listed    in      the

        information.          The    information     noticed     a   “[c]onviction         for   a

        heroin offense for which [Whiting] was sentenced to 186 months’

        incarceration, which was later reduced pursuant via a Rule 35

        [sic] to 72 months’ incarceration, in the Eastern District of

        Virginia,      Docket       No.    94CR00108-101       (Ellis,      J.)”    (“Virginia

        conviction”).          J.A.       506.     The   information        also    noticed      a

        “[c]onviction for possession of cocaine in Mexico, Docket Number

        153/84 (Chavez, J[.]), on or about February 1, 1986, for which

        [Whiting] received a sentence of eight years, three months [sic]

        incarceration”        (“Mexico      conviction”).        Id.        Attached      to   the

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        information was an uncertified copy of the final judgment from

        the Virginia conviction.

              Whiting argues that the information filed by the government

        failed    to   provide     him    adequate      notice      of    these    convictions

        because the information did not come with certified copies of

        the records of convictions attached.

              For an information to provide adequate notice as required

        by § 851, it must contain sufficient information to allow a

        defendant an opportunity “to identify [each] prior conviction

        and make an informed decision about whether to challenge the

        substance of the information.”                 United States v. Severino, 316

        F.3d 939, 943 (9th Cir. 2003); accord United States v. Beasley,

        495 F.3d 142, 149 (4th Cir. 2007) (noting that the purpose of

        such an information is to give “the defendant an opportunity to

        challenge      the   use   of    the   prior     convictions        and    to   prevent

        sentencing      errors”).        We    have     found      no    authority      for    the

        suggestion      that     adequate      notice    requires        the   provision        of

        certified copies of the judgment.

              The information filed by the government contained the date,

        docket    number,      judge,    and   sentence      for    both    the    Mexico      and

        Virginia convictions.           We conclude that these data were adequate

        to   allow     Whiting     to    identify      the   convictions         and    make   an

        informed decision about whether to challenge their existence.

        Thus, the notice provided by the government satisfied § 851.

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                                             III.

              For the foregoing reasons, we affirm the district court in

        all respects except as to the denial of Dobie’s request for a

        minor     role   adjustment   in   calculating        her   sentence   for   her

        conviction on Count One.           We vacate Dobie’s sentence on Count

        One and remand to the district court for further proceedings

        consistent with this opinion.

                                                                    AFFIRMED IN PART,
                                                                 VACATED IN PART, AND
                                                           REMANDED WITH INSTRUCTIONS




                                               25
